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Dated: _______________________                LAKESHORE MANOR, LLC.



                                            Sign:


                                            Name:_Rosalina Rothrock_____________


                                            Title:

_____________________________________
LAKESHORE MANOR, LLC.                         Date



BELEN GUTIERREZ                               Date




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